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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

  PRIME INSURANCE COMPANY,
  AN ILLINOIS CORPORATION,
               Plaintiff,
                                                     Case No. 2:24-CV-421-SPC-KCD
        v.

  MEDICAB TRANSPORTATION,
  LLC; JASON RHODES; DALE
  JOHNSON; and ESTATE OF
  MARGARET ST. AUBIN, BY AND
  THROUGH MARK ST. AUBIN,
  PERSONAL REPRESENTATIVE,
               Defendants,
                                           /

                                         ORDER

        Before the Court is Plaintiff Prime Insurance Company’s Motion for

  Protective Order/Motion to Quash Non-Party Subpoenas. (Doc. 61.)1 The

  subpoena targets have also filed motions seeking the same relief. (Docs. 66,

  68, 77.) Defendant Estate of Margaret St. Aubin opposes any request to limit

  or quash the subpoenas. (Doc. 74.) For the reasons below, the motions are

  GRANTED IN PART AND DENIED IN PART.

                                     I. Background

        This lawsuit seeks to resolve whether Prime Insurance Company owes

  coverage to its insured, Defendant Medicab Transportation. (See Doc. 11.)

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   Unless otherwise indicated, all internal quotation marks, citations, and alterations have
  been omitted in this and later citations.
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  According to the complaint, “Margaret St. Aubin was on a lift being unloaded

  from a Medicab van when she . . . fell and injured her back.” (Id. ¶ 9.) Aubin

  (now deceased and represented by her estate) has filed a personal injury

  action in state court. Prime seeks a declaratory judgment that “there is no

  coverage under the Prime Commercial Liability Policy for [Aubin’s] claim.”

  (Id. ¶ 33.)

        Medicab has filed several counterclaims against Prime. (Doc. 17.) The

  gist of its claims is that Prime, “with assistance from its related

  affiliate/subsidiary companies . . . and its legal team,” fraudulently “rewrote

  and modified the commercial general liability policy to remove $1,000,000 of

  insurance coverage.” (Doc. 74 at 2-3.) According to Medicab, its commercial

  policy contained “Paratransit services liability coverage” at the time of

  Aubin’s accident. (Doc. 17 ¶ 59.) But through a series of misrepresentations,

  Prime amended the policy and cancelled that coverage.

        Pertinent here, Aubin has subpoenaed “attorneys, claim handlers,

  litigation adjusters, representatives, and agents of Prime.” (Doc. 61 at 3.) The

  subpoena targets are:

            • Strong & Hanni, PC—Prime’s outside legal counsel

            • Sastre, Saavedra, & Epstein, PPLC—Prime’s outside legal
              counsel

            • Evolution Insurance Brokers, LC—Prime’s insurance brokerage


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             • Prime Holdings Insurance Services, Inc. d/b/a Claims Direct
               Access—Prime’s claims handler

  (Doc. 61-1.)2 Prime now “moves for a protective order and to quash [these]

  non-party subpoenas.” (Doc. 61 at 1.) The subpoena targets have also filed

  nearly identical motions. (Docs. 66, 68 & 77.)

                                        II. Discussion

         Prime and its affiliates seek two forms of relief: an order quashing the

  subpoenas under Fed. R. Civ. P. 45, or alternatively, a protective order under

  Fed. R. Civ. P. 26. (See, e.g., Doc. 61 at 9-18.)

     1. Motion to Quash

         The Court need not spend long here because this relief is unavailable.

  Federal Rule of Civil Procedure 45 governs the subpoena process and its

  parameters. Rule 45 distinguishes between an “issuing court” and the “court

  of compliance.” See Fed R. Civ. P. 45(a)(2), (c)(2)(A). A subpoena must be

  issued by the court where the underlying action is pending. But “the district

  court with jurisdiction to enforce and to quash subpoenas is the court for the

  district where compliance is required.” Narcoossee Acquisitions, LLC v. Kohl’s

  Dep’t Stores, Inc., No. 6:14-CV-203-ORL-41TB, 2014 WL 4279073, at *1 (M.D.

  Fla. Aug. 28, 2014).




  2 This exhibit is not consecutively paginated. The Court thus refers to the page numbers

  generated by its electronic filing system.
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        The subpoenas here require the production of documents in Salt Lake

  City, Utah and Weston, Florida. (Doc. 61-1.) Both these locations are outside

  the Middle District of Florida. Thus, this Court “lacks the jurisdiction to

  quash th[ese] subpoena[s].” Bernath v. Seavey, No. 2:15-CV-358-FTM-99CM,

  2017 WL 11025770, at *2 (M.D. Fla. May 9, 2017); see also Taser Int’l, Inc. v.

  Phazzer Elecs., Inc., No. 6:16-CV-366-PGB-LHP, 2022 WL 1239237, at *1

  (M.D. Fla. Feb. 16, 2022); Starr Indem. & Liab. Co. v. CSX Transp., Inc., No.

  3:14-CV-1455-J-39JBT, 2015 WL 12862918, at *1 (M.D. Fla. Sept. 29, 2015).

        The geographical limits of Rule 45(d)(3) do not apply to the movants’

  request for a protective order, which is where the Court turns now. See Fed.

  R. Civ. P. 26(c)(1) (“A party or any person from whom discovery is sought may

  move for a protective order in the court where the action is pending[.]”).

     2. Protective Order

        Upon a showing of good cause, the court may “issue an order to protect

  a party or person from annoyance, embarrassment, oppression, or undue

  burden or expense.” Fed. R. Civ. P. 26(c)(1). A protective order can include,

  among other things, “forbidding inquiry into certain matters, or limiting the

  scope of disclosure or discovery to certain matters[.]” Id. “This Court has

  previously held that parties have standing to move for a protective order”

  against a Rule 45 subpoena. Lesniak v. Geico Gen. Ins. Co., No. 2:19-CV-494-

  FTM-60MRM, 2020 WL 5878022, at *3 (M.D. Fla. Apr. 17, 2020).

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        Protective orders are not lightly granted because they contravene the

  general breadth allowed for discovery. Thus, while “courts have broad

  discretion in fashioning discovery rulings,” they still “are bound to adhere to

  the liberal spirit of the Federal Rules.” Akridge v. Alfa Mut. Ins. Co., 1 F.4th

  1271, 1276 (11th Cir. 2021). “The party requesting a protective order must

  make a specific demonstration of facts in support of the request, rather than

  conclusory or speculative statements about the need for a protective order

  and the harm which will be suffered without one.” New World Network Ltd. v.

  M/V NORWEGIAN SEA, No. 05-22916 CIV, 2007 WL 1068124, at *1 (S.D.

  Fla. Apr. 6, 2007).

        Prime and its affiliates first argue that a protective order is necessary

  because the subpoenas target irrelevant information. At issue in this

  declaratory judgment action, they say, is “whether Prime’s general liability

  policy is applicable to the claims asserted by [A]ubin” in the negligence

  action. (Doc. 61 at 5.) The subpoenas, however, seek “confidential, claims

  handling, attorney client privileged and work-product documents” that have

  no relationship to resolving the scope of the policy. (Id. at 4.) As the movants

  put it, Aubin is “attempt[ing] to obtain premature bad faith discovery[] and

  infringe on the attorney client privilege.” (Id. at 6.)

        The Court might find this relevancy argument convincing if the dispute

  were a simple declaratory judgment action. But the case is much more. As

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  mentioned, Medicab claims that Prime fraudulently changed the underlying

  insurance policy to avoid covering Aubin’s accident. (Doc. 17.) And according

  to the pleadings, Prime was aided by its agents and outside counsel, who are

  the subpoena targets. (See id. ¶¶ 35, 38, 61.) Aubin argues, and the Court

  agrees, that the subpoenas seek information relevant to the alleged fraud.

  For instance, the subpoena to Strong & Hanni, PC seeks “correspondence,

  communications, and documents, and writings . . . pertaining or referring to

  the General Change Endorsement PAP-99-16 dated July 27, 2022.” (Doc. 61-1

  at 18.) This request falls squarely within the heart of Medicab’s

  counterclaims. See Fed. R. Civ. P. 26(b)(1) (“Parties may obtain discovery

  regarding any nonprivileged matter that is relevant to any party’s claim or

  defense and proportional to the needs of the case[.]”).

        But there is a problem. The subpoenas are nearly boundless. They seek,

  among other things, every document or communication “pertaining or

  referring to Prime Property & Casualty Insurance Company insurance policy

  number PC21050897 issued to Medicab Transportation, LLC (from inception

  of the policy to present).” (Doc. 61-1 at 15.) Literally construed, this request

  calls for every scrap of paper and electronic record concerning the underlying

  insurance policy, no matter its relevance. The overbreadth is obvious. Each

  subpoena also has over 60 requests, many of which overlap substantially. As

  other courts have recognized, even if a subpoena targets relevant

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  information, that does not condone a blanket request for “all documents . . .

  related to the accident, claim, [or] resulting lawsuit.” McMullen v. GEICO

  Indem. Co., No. 14-CV-62467, 2015 WL 2226537, at *8 (S.D. Fla. May 13,

  2015). Aubin has seemingly made no effort to tailor the subpoenas to the

  issues in the case and the relevant information each target may possess.

  Indeed, the Court is hard-pressed to imagine broader discovery. Cf. Cadle v.

  GEICO Gen. Ins. Co., No. 6:13-CV-1591-ORL-31-GJK, 2014 WL 12621189, at

  *3 (M.D. Fla. May 28, 2014) (precluding subpoena that sought all documents

  regarding an underlying lawsuit because the defendant “made no effort to

  tailor the [s]ubpoena to the issues in the case”).

        What is more, much of the information sought is presumably available

  from Prime. “[A] district court has discretion to modify or quash a subpoena if

  it seeks discovery that is . . . duplicative, or is obtainable from other

  source[s].” Bogus v. City of Birmingham, Ala., No. 2:17-CV-00827-TMP, 2019

  WL 13268139, at *3 (N.D. Ala. Mar. 7, 2019). Since the subpoena targets are

  either “affiliate[s]/subsidiar[ies]” or “counsel for Prime,” it should have

  “control” of the documents requested. Costa v. Kerzner Int’l Resorts, Inc., 277

  F.R.D. 468, 471 (S.D. Fla. 2011). “[I]n an effort to spare third parties the

  expense and cost of responding to [a] subpoena,” the movant “ought to first

  attempt to obtain such evidence directly from [the opposing party] pursuant

  to other available avenues under the Federal Rules of Civil Procedure.”

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  Maxwell v. Health Ctr. of Lake City, Inc., No. 3:05CV1056-J-32MCR, 2006

  WL 1627020, at *4 (M.D. Fla. June 6, 2006).

        This is not to say Aubin is forever barred from pursuing documents

  from Prime’s outside counsel or affiliates. As mentioned, some of the

  information sought is germane to Medicab’s fraud claims. But the burden is

  on Aubin to appropriately align her requests with the governing discovery

  principles. A protective order is appropriate here because the subpoenas are

  overbroad, responding to them would be unduly burdensome, and many areas

  of inquiry are not proportional to the claims before the Court. See, e.g.,

  Westchester Surplus Lines Ins. Co. v. Portofino Masters Homeowners Assoc.,

  Inc., 347 F.R.D. 228 (N.D. Fla. 2024).

        Accordingly, it is ORDERED:

        1.      Prime’s Motion (Doc. 61), Strong & Hanni PC’s Motion (Doc. 66),

  Evolution Insurance Brokers, LC and Prime Holdings Insurance Services,

  Inc.’s Motion (Doc. 68), and Sastre, Saavedra, & Epstein, PLLC’s Motion

  (Doc. 77) are GRANTED IN PART AND DENIED IN PART:

        a. The Court issues a protective order to quash the subpoenas issued to

             Strong & Hanni, PC; Sastre, Saavedra, & Epstein, PPLC; Evolution

             Insurance Brokers; and Prime Holdings Insurance Services, Inc.

             (Doc. 61-1);

        b. All other relief sought is denied.

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  ENTERED in Fort Myers, Florida on November 6, 2024.




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